                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 May 28, 2015
                              No. 10-14-00163-CR
                         EX PARTE JUAN CARLOS MOREJON
                                       
                                       
                        From the 77[th] District Court
                            Limestone County, Texas
                            Trial Court No. 1085-A
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's Order, signed on May 16, 2014, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

